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                    IN THE UNITED STATES BANKRUPTCY COURT
                         EASTERN DISTRICT OF ARKANSAS
                               PINE BLUFF DIVISION


 IN RE: JAMES WILKERSON, SR.                                   CASE NO. 5:12-bk-16860T
                                                               CHAPTER 13


                     TRUSTEE’S REPORT OF UNCLAIMED FUNDS
                            PURSUANT TO FRBP 3011

        The undersigned Trustee of the above-styled estate states as follows for his

 report of unclaimed funds:

         1. The following payees are entitled to dividends or other monies which remain

 unclaimed for at least ninety (90) days. The debtor's voluntary petition was filed on

 November 27, 2012. The case dismissed prior to confirmation on November 26, 2013.

 The Trustee had funds on hand at the time the case was dismissed in the sum of

 $4,972.97. The Trustee has made diligent efforts to refund the funds to the debtor

 pursuant to 11 U.S.C. §1326(a)(2). The debtor is deceased. The Trustee notified the

 debtor's daughter and any potential heirs of the funds held by the Trustee; however, the

 Trustee has not been provided with any information regarding a probate estate or

 administration for the debtor.

 Court’s Claim No.                      Payee Name                     Dividend Amount
 N/A                                   James Wilkerson, Sr.               $4,972.97
                                       1006 Kingswood
                                        Pine Bluff, AR 71603


 Trustee’s Claim No.
 N/A                                        Description of Payment: Refund to Debtor
                                            Trustee’s Cancelled Check No.: 372413

        2. Payment has been stopped on the above listed check.

        3. Pursuant to 11 U.S.C. §347 and Rule 3011 of the Bankruptcy Rules, a check

 has been issued to “U.S. Bankruptcy Court Clerk” in the amount of $4,972.97. This

 amount should be deposited in the Federal Reserve for the benefit of the unclaimed
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 dividend payees.

 DATE: 3/2/2016                   Respectfully submitted,

                                  /s/Jack W. Gooding

                                  Jack W. Gooding
                                  Standing Chapter 13 Trustee
